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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

A. CORNELL BLANKS                      '
                                       '
       Plaintiff,                      '
                                       '
       v.                              ' CA No. 4-10-cv-297-Y
                                       '
UNITED AEROSPACE WORKERS               '
LOCAL 848, JAMES RUSSELL STROWD,       '
WENDELL HELMS, and ROMEO MUNOZ         '
                                       '
       Defendants.                     '



       DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S SUMMARY JUDGMENT
                    EVIDENCE AND BRIEF IN SUPPORT




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                                    RUSSELL STROWD, WENDELL HELMS, AND
                                    ROMEO MUNOZ


Dated: June 21, 2011
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                                UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

 A. CORNELL BLANKS                 '
                                   '
 v.                                '
                                   '                             CA No. 4-10-cv-297-Y
 UNITED AEROSPACE WORKERS          '
  LOCAL 848, JAMES RUSSELL STROWD, '
 WENDELL HELMS, and ROMEO MUNOZ '

     DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S SUMMARY JUDGMENT
                   EVIDENCE AND BRIEF IN SUPPORT

          Defendants United Aerospace Workers Local 848 (“Local 848”), James Russell

 Strowd, Wendell Helms, and Romeo Munoz (collectively “Defendants”), by and through

 their undersigned counsel, file this Motion to Strike Plaintiff’s Summary Judgment

 Evidence and Brief in Support and respectfully show this Court as follows:

                                                    I.
                                               Introduction

          Blanks has filed both a Motion for Summary Judgment (“Motion”) (doc. 69) and

 a Response to Defendants’ Motion for Summary Judgment (“Response”) (doc. 67). In

 support of both his Motion and Response, Blanks has submitted his Declaration1 as an

 attachment to both his Motion and Response and a separately filed Appendix 2 (do.c. 68)

 containing various documents as supporting evidence for the factual allegations he makes

 in each; all are the targets of this Motion to Strike. As will be demonstrated below,

 Defendants seek to strike as follows: (1) Blanks’ Declarations in toto because they fail to

 affect any material fact that is in issue, (2) alternatively, specific averments in the
 1
  The Declarations that Blanks relies upon are located, not in an appendix, but rather as attachments at the
 end of both his Motion (doc. 69 PageID 1085-89) and Response (doc. 67 PageID 979-83). Both
 Declarations appear to be identical and are treated the same here.
 2
   Although Blanks filed his Appendix in conjunction with his Response, he states in his Motion that he
 relies on this Appendix to support his Motion as well. (doc. 69 PageID 1051).

                                                      1
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 Declarations because they are not in admissible form as Fed.R.Civ.P., Rule 56(c)(2)

 requires, and (3) specific documents in the Appendix (doc. 68) because they fail to affect

 any material fact that is in issue and/or are not in admissible form as Fed.R.Civ.P., Rule

 56(c)(2) requires.

                                           II.
                                Report on Efforts to Confer

        Because of this Motion to Strike’s relationship to the dispositive motions now

 before the Court, there is no question that Blanks opposes this Motion and, thus, the

 parties have not conferred. The Court will have to rule on it.

                                         III.
             Blanks’ Declarations Should be Stricken Because they Fail to
                           Affect any Material Fact Issues

        A declaration submitted on summary judgment must, at a minimum, meet four

 requirements before a district court may consider it in ruling on a Fed.R.Civ.P., Rule 56

 motion. First, in the case of a declaration, it must meet the specific requirements set forth

 in Fed.R.Civ.P., Rule 56(c)(4) and in 28 U.S.C. § 1746. Second, as specified by

 Fed.R.Civ.P., Rules 56(c)(2) & (4), the averments in the declaration must otherwise

 satisfy the admissibility requirements of the Federal Rules of Evidence. Third, the

 declaration must not contain averments that contradict, without a satisfactory explanation,

 the declarant’s prior sworn testimony. S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489,

 495-96 (5th Cir. 1996). Fourth, the declaration must contain averments that “affect” a

 material fact at issue in the case. Id. at 496 (issue created by affidavit not considered on

 summary judgment because it “does not affect a material fact”).

        In subjecting a summary judgment declaration to the materiality test, the court

 must separate real issues from sham issues:

                                               2
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          "The very object of summary judgment is to separate real and genuine
          issues from those that are formal or pretended, so that only the former may
          subject the moving party to the burden of trial. Here we are convinced that
          the issues of fact created by Radobenko are not issues which this Court
          could reasonably characterize as genuine; rather, they are sham issues
          which should not subject the defendants to the burden of trial."

 Radobenko v. Automated Equip. Corp., 520 F.2d 540, 544 (9th Cir. 1975) (citations

 omitted).3

          Here, Blanks’ Declarations fail the materiality test. More specifically, Blanks

 makes 41 total averments in the numbered paragraphs of his Declarations. Averments

 Nos. 1-5, 7, 9, 12-14, 23, 30, 33-34, 41 are factual allegations that do not affect a material

 fact at issue in the case. Averments Nos. 10, 15-17, 21, 32, 35-36 are legal conclusions

 and arguments--not factual allegations affecting any material fact at issue in the case.

 Averments Nos. 6, 8, 11, 18-20, 22 are factual allegations that perforce are not based on

 Blanks’ personal knowledge and, thus, cannot affect a material fact at issue in the case.

 Averments Nos. 24-29 are factual allegations submitted by Blanks in his attempt to re-

 litigate factual issues already decided adverse to Blanks in his separate suit against

 Vought4 claiming, inter alia, that Vought breached the collective bargaining agreement

 by terminating him, the re-litigation of which is precluded by collateral estoppel as a

 matter of law and, thus, cannot affect a material fact at issue in the case.5 Averments Nos.


 3
   Cf. Tyler v. Runyon, 70 F.3d 458, 469 (7th Cir. 1995) (“Speculation does not create a genuine issue of
 fact; instead, it creates a false issue, the demolition of which is a primary goal of summary judgment.”
 (quoting Hedberg v. Ind. Bell Tel. Co., 47 F.3d 928, 932 (7th Cir. 1995)) (internal quotation marks
 omitted)).

 4
  See A. Cornell Blanks v. Vought Aircraft Industries, Inc., (Civil Action No. 3:09-CV-695-K, U.S. Dist.
 Ct. N.D. Tex.) reported at 2010 WL 4315530 (N.D. Tex), and 2010 WL 4321580, which decisions are now
 pending appeal to the Fifth Circuit Court of Appeals, No. 10-11103 (5th Cir.).
 5
   The legal authority supporting Defendants’ contentions that (1) Blanks’ only real alleged claim against
 the Defendants in this lawsuit is his alleged claim for breach of the duty of fair representation (“DFR”) that
 is one side of the “hybrid” employer breach of contract/union breach of the DFR intertwined cause of

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 37-40 are an attempt to manufacture a “sham” issue that does not genuinely exist and,

 thus, cannot affect a material fact at issue in the case. 6

          Thus, for the foregoing reasons, Blanks’ Declarations attached to his Motion for

 Summary Judgment (doc. 69 PageID 1085-89) and his Response to Defendants’ Motion

 for Summary Judgment (doc. 67 PageID 979-83), in their entirety, fail to affect any

 material fact at issue before the Court on summary judgment and, as such, cannot provide

 the grounds for granting Blanks or denying Defendants summary judgment. Therefore,

 Blanks’ Declarations should either be stricken from the summary judgment record or

 disregarded by the Court when it rules on the parties’ respective summary judgment

 motions.

                                            IV.
       Alternatively, Specific Averments in Blanks’ Declarations Should be Stricken
     Because they are not Admissible as Required by Fed.R.Civ.P., Rules 56(c)(2) & (4)

          The following averments in Blanks’ Declarations (listed by paragraph number)

 should be stricken because they are not admissible as required by Fed.R.Civ.P., Rules

 56(c)(2) & (4):

          No. 6 – Blanks indisputably was not employed by Vought when the CBA at issue

 here was ratified (i.e., CBA was ratified in 2007, Blanks was hired in 2008) and, thus, he

 has no personal knowledge of the ratification vote by the union members. This fails the




 action and (2) that Blanks’ breach of contract (CBA) claim is precluded by collateral estoppel is fully set
 forth in Defendants’ Brief in Support of Motion for Summary Judgment and/or to Dismiss. (doc. 60 PageID
 570-73). Those arguments and legal authority are fully incorporated herein.

 6
   As fully set forth in Defendants’ Reply (doc. 73, 74) and Brief in Support of Motion to Dismiss and/or for
 Summary Judgment (doc. 60), as well as in the supporting Appendix thereto (doc. 61), which are both fully
 incorporated herein, Blanks’ averments describing Helms’ and Strowd’s deposition testimony are an
 attempt to create a “sham” issue because they are indisputably false and/or not material. (doc. 73 PageID
 1160-62; docs. 74-1, 74-2, 74-3).

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 competency requirement for summary judgment declarations as set forth in Fed.R.Civ.P.,

 Rule 65(c)(4) and, as such, is inadmissible and must be stricken.

        No. 8 – Blanks indisputably was not employed by Vought when the CBA at issue

 here was negotiated (i.e., CBA was ratified in 2007, Blanks was hired in 2008) and, thus,

 he has no personal knowledge of the effort or time required to negotiate the CBA at issue

 here. This fails the competency requirement for summary judgment declarations as set

 forth in Fed.R.Civ.P., Rule 65(c)(4) and, as such, is inadmissible and must be stricken.

        No. 10 – Blanks’ opinion as to what he “duly expected” Defendants and Vought

 would do under the CBA is not helpful or relevant to determining a fact in issue, as

 Blanks’ subjective opinion is not an element in any of his alleged claims in this lawsuit.

 This fails the lay witness opinion evidence requirement of Fed.R.Evid., Rule 701 and, as

 such, is inadmissible and must be stricken.

         No. 11 – Blanks sets forth no facts that would suggest he has any personal

 knowledge of how Vought conducts its business with any governmental entity. This fails

 the competency requirement for summary judgment declarations as set forth in

 Fed.R.Civ.P., Rule 56(c)(4) and, as such, is inadmissible and must be stricken.

        No. 15 – Blanks’ opinion as to whether Defendants’ could use “common law of

 the shop” terminology to describe the grievance steps under the CBA is not helpful or

 relevant to determining a fact in issue, as Blanks’ subjective opinion is not an element in

 the application of the “common law of the shop” doctrine. This fails the lay witness

 opinion evidence requirement of Fed.R.Evid., Rule 701 and, as such, is inadmissible and

 must be stricken.




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        No. 16 – Blanks’ opinion as to the timing and manner of Defendants’ processing

 of his grievance is not helpful or relevant to determining a fact in issue, as Blanks’

 subjective opinion is not an element in determining any of his alleged claims in this

 lawsuit. This fails the lay witness opinion evidence requirement of Fed.R.Evid., Rule 701

 and, as such, is inadmissible and must be stricken.

        No. 17 – Blanks’ opinion as to the amount of time that Defendants had to process

 his grievance under the CBA is not helpful or relevant to determining a fact in issue, as

 Blanks’ subjective opinion is not an element in determining any of his alleged claims in

 this lawsuit. This fails the lay witness opinion evidence requirement of Fed.R.Evid., Rule

 701 and, as such, is inadmissible and must be stricken.

        No. 18 – Blanks indisputably was not employed by Vought when the CBA at

 issue here was negotiated (i.e., CBA was ratified in 2007, Blanks was hired in 2008) and,

 thus, he has no personal knowledge of the purpose or intent, or the parties past practice,

 with regard to the specific time periods set forth for the steps of the grievance procedure

 as described in the CBA. This fails the competency requirement for summary judgment

 declarations as set forth in Fed.R.Civ.P., Rule 56(c)(4) and, as such, is inadmissible and

 must be stricken.

        No. 19 – Blanks indisputably was not employed by Vought until 2008 and has no

 personal knowledge of the history of the negotiation of, or the parties past practice

 operating under, Article V of the CBA, or of past CBA’s between the Local 848 and

 Vought. This fails the competency requirement for summary judgment declarations as set

 forth in Fed.R.Civ.P., Rule 56(c)(4) and, as such, is inadmissible and must be stricken.




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        No. 20 – Blanks indisputably was not employed by Vought until 2008 and has no

 personal knowledge of the history of the negotiation of, or the parties past practice

 operating under, Article V of the CBA, its purpose or intent, or its relationship, if any, to

 “past practices.” This fails the competency requirement for summary judgment

 declarations as set forth in Fed.R.Civ.P., Rule 56(c)(4) and, as such, is inadmissible and

 must be stricken.

        No. 21 – Blanks’ opinion that Defendants “wrongfully discard the time period

 limitations of article V” and “discriminated against” him is not helpful or relevant to

 determining a fact in issue, as Blanks’ subjective opinion is not an element in

 determining any of his alleged claims in this lawsuit. This fails the lay witness opinion

 evidence requirement of Fed.R.Evid., Rule 701 and, as such, is inadmissible and must be

 stricken.

         No. 22 – Blanks indisputably was not employed by Vought until 2008 and has no

 personal knowledge of the history of Vought’s employment of black employees in

 general, or for the “Pratt & Whitney Jet assembly line position” in particular. This fails

 the competency requirement for summary judgment declarations as set forth in

 Fed.R.Civ.P., Rule 56(c)(4) and, as such, is inadmissible and must be stricken.

        No. 23 – Blanks’ allegations in this averment concerning the facts surrounding

 and leading up to Vought’s decision to terminate his employment are, as described in the

 preceding section, neither relevant or material because he is collaterally estopped from

 re-litigating those facts here. These allegations fail the materiality requirement for

 summary judgment evidence (S.W.S. Erectors, Inc., supra, 72 F.3d at 496) and the




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 relevancy requirement under Fed.R.Evid., Rule 402 and, as such, are inadmissible and

 must be stricken.

        No. 24 – Blanks’ allegations in this averment concerning the facts surrounding

 and leading up to Vought’s decision to terminate his employment and whether Vought

 breached the CBA by doing so, are, as described in the preceding section, neither relevant

 or material because he is collaterally estopped from re-litigating those facts here. These

 allegations fail the materiality requirement for summary judgment evidence (S.W.S.

 Erectors, Inc., supra, 72 F.3d at 496) and the relevancy requirement under Fed.R.Evid.,

 Rule 402 and, as such, are inadmissible and must be stricken.

        No. 25 – Blanks’ allegations in this averment concerning the facts surrounding

 and leading up to Vought’s decision to terminate his employment and whether Vought

 breached the CBA by doing so, are, as described in the preceding section, neither relevant

 or material because he is collaterally estopped from re-litigating those facts here. These

 allegations fail the materiality requirement for summary judgment evidence (S.W.S.

 Erectors, Inc., supra, 72 F.3d at 496) and the relevancy requirement under Fed.R.Evid.,

 Rule 402 and, as such, are inadmissible and must be stricken.

        No. 26 – Blanks’ allegations in this averment concerning the facts surrounding

 and leading up to Vought’s decision to terminate his employment and whether Vought

 breached the CBA by doing so, are, as described in the preceding section, neither relevant

 or material because he is collaterally estopped from re-litigating those facts here. These

 allegations fail the materiality requirement for summary judgment evidence (S.W.S.

 Erectors, Inc., supra, 72 F.3d at 496) and the relevancy requirement under Fed.R.Evid.,

 Rule 402 and, as such, are inadmissible and must be stricken.



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        No. 27 – Blanks’ allegations in this averment concerning the facts surrounding

 and leading up to Vought’s decision to terminate his employment and whether Vought

 breached the CBA by doing so, are, as described in the preceding section, neither relevant

 or material because he is collaterally estopped from re-litigating those facts here. These

 allegations fail the materiality requirement for summary judgment evidence (S.W.S.

 Erectors, Inc., supra, 72 F.3d at 496) and the relevancy requirement under Fed.R.Evid.,

 Rule 402 and, as such, are inadmissible and must be stricken.

        No. 28 – Blanks’ allegations in this averment concerning the facts surrounding

 and leading up to Vought’s decision to terminate his employment and whether Vought

 breached the CBA by doing so, are, as described in the preceding section, neither relevant

 or material because he is collaterally estopped from re-litigating those facts here. These

 allegations fail the materiality requirement for summary judgment evidence (S.W.S.

 Erectors, Inc., supra, 72 F.3d at 496) and the relevancy requirement under Fed.R.Evid.,

 Rule 402 and, as such, are inadmissible and must be stricken.

        No. 29 – Blanks’ allegations in this averment concerning the facts surrounding

 and leading up to Vought’s decision to terminate his employment and whether Vought

 breached the CBA by doing so, are, as described in the preceding section, neither relevant

 or material because he is collaterally estopped from re-litigating those facts here. These

 allegations fail the materiality requirement for summary judgment evidence (S.W.S.

 Erectors, Inc., supra, 72 F.3d at 496) and the relevancy requirement under Fed.R.Evid.,

 Rule 402 and, as such, are inadmissible and must be stricken.

        No. 30 – Blanks’ allegations in this averment concerning his employment history

 with Lockheed Martin Aero prior to his 2008 hiring by Vought are neither relevant or



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 material to any issue in this litigation. These allegations fail the materiality requirement

 for summary judgment evidence (S.W.S. Erectors, Inc., supra, 72 F.3d at 496) and the

 relevancy requirement under Fed.R.Evid., Rule 402 and, as such, are inadmissible and

 must be stricken.

        No. 31 – Blanks’ allegations in this averment concerning his employment history

 prior to 2008 and his reasons for wanting to work two jobs in 2008 are neither relevant or

 material to any issue in this litigation. These allegations fail the materiality requirement

 for summary judgment evidence (S.W.S. Erectors, Inc., supra, 72 F.3d at 496) and the

 relevancy requirement under Fed.R.Evid., Rule 402 and, as such, are inadmissible and

 must be stricken.

        No. 32 – Blanks’ opinion and speculation as to Defendants’ motivations in

 processing his grievance is not helpful or relevant to determining a fact in issue, as

 Blanks’ subjective opinion is not an element in determining any of his alleged claims in

 this lawsuit. This fails the lay witness opinion evidence requirement of Fed.R.Evid., Rule

 701 and, as such, is inadmissible and must be stricken.

        No. 34 – Blanks’ allegations in this averment that he knows of other employees,

 all unnamed, who have allegedly worked at both Vought and Lockeheed Martin at the

 same time are neither relevant or material to any issue in this litigation. These allegations

 fail the materiality requirement for summary judgment evidence (S.W.S. Erectors, Inc.,

 supra, 72 F.3d at 496) and the relevancy requirement under Fed.R.Evid., Rule 402 and,

 as such, are inadmissible and must be stricken.

        No. 35 – Blanks’ opinion as to what he “fully expected” Defendants and Vought

 would do under the CBA is not helpful or relevant to determining a fact in issue, as



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 Blanks’ subjective opinion is not an element in any of his alleged claims in this lawsuit.

 This fails the lay witness opinion evidence requirement of Fed.R.Evid., Rule 701 and, as

 such, is inadmissible and must be stricken.

        No. 36 – Blanks’ opinion that his actions did not warrant a discharge is not

 helpful or relevant to determining a fact in issue as his subjective opinion is not an

 element in any of his alleged claims in this lawsuit. This fails the lay witness opinion

 evidence requirement of Fed.R.Evid., Rule 701 and, as such, is inadmissible and must be

 stricken.

        No. 37 – Blanks’ allegation in this averment that Defendant Strowd never took a

 grievance to arbitration is neither relevant or material to any issue in this litigation given

 that Strowd in his capacity as Local 848’s Vought Grievance Chairman indisputably has

 never had the responsibility or authority to take a grievance to arbitration for Local 848.

 This allegation fails the materiality requirement for summary judgment evidence (S.W.S.

 Erectors, Inc., supra, 72 F.3d at 496) and the relevancy requirement under Fed.R.Evid.,

 Rule 402 and, as such, is inadmissible and must be stricken.

        No. 38 – Blanks’ indisputably false allegation in this averment that Defendant

 Helms never took a grievance to arbitration is neither relevant or material to any issue in

 this litigation given the absence of legal authority accepting a union’s grievance-to-

 arbitration record as evidencing a breach of the DFR. This allegation fails the materiality

 requirement for summary judgment evidence (S.W.S. Erectors, Inc., supra, 72 F.3d at

 496) and the relevancy requirement under Fed.R.Evid., Rule 402 and, as such, is

 inadmissible and must be stricken.




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        No. 39 – Blanks’ opinion that Strowd and Helms supposedly violated various

 duties to him is not helpful or relevant to determining a fact in issue, as Blanks’

 subjective opinion is not an element in any of his alleged claims in this lawsuit. This fails

 the lay witness opinion evidence requirement of Fed.R.Evid., Rule 701 and, as such, is

 inadmissible and must be stricken.

        No. 40 – Blanks’ indisputably false allegation in this averment that Defendant

 Helms never took a grievance to arbitration is neither relevant or material to any issue in

 this litigation given the absence of legal authority accepting a union’s grievance-to-

 arbitration record as evidencing a breach of the Duty of Fair Representation. This

 allegation fails the materiality requirement for summary judgment evidence (S.W.S.

 Erectors, Inc., supra, 72 F.3d at 496) and the relevancy requirement under Fed.R.Evid.,

 Rule 402 and, as such, is inadmissible and must be stricken.

                                         V.
     Specific Documents in Blanks’ Appendix Should be Stricken or Disregarded
     Because they Fail to Affect any Material Fact Issues and are not Admissible
                  as Required by Fed.R.Civ.P., Rules 56(c)(2) & (4)

        In support of both his Response to Defendants’ summary judgment motion and

 his own summary judgment motion, Blanks submits an “Appendixs” (doc. 68) containing

 certain documents that should be stricken or disregarded by the Court when it rules on the

 parties’ respective summary judgment motions because they fail to affect any material

 fact issue and/or are inadmissible as follows:

        Appendix 1 – Appendix 1, together with Appendix 2, are copies of Blanks’

 grievance form reflecting various signatures as they existed at different points in time in

 the processing of the grievance: Appendix 1 at a point in time after Vought’s denial of the

 grievance at the Third Step on September 2, 2008, but before its appeal to the

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 Prearbitration Review Step; and Appendix 2 at a point in time after the grievance had

 been appealed to the Prearbitration Review Step by Local 848 Grievance Chairman

 Strowd on January 20, 2009. Defendants have submitted Appendix 2 in support of their

 motion for summary judgment as being a complete copy of Blanks’ grievance after it had

 been fully processed through the steps of the CBA’s grievance procedure. However,

 Blanks contends in his summary judgment motion that because Defendants submitted the

 version of the grievance form he attaches as Appendix 2 reflecting Strowd’s signature on the

 bottom appealing it to the Prearbitration Review Step, which signature the Appendix 1

 version does not reflect, this is purportedly evidence of fraud or dishonesty by Defendants in

 processing his grievance. (doc. 69 PageID 1071). To the extent that Blanks offers Appendix 1

 as such evidence, Defendants contend that this document lacks foundation and is not

 authenticated under Fed.R.Evid., Rule 901. Thus, as introduced for that purpose this form

 of the grievance is inadmissible and should be stricken or disregarded by the Court.

         Appendix 3 – this purports to be a picture of the Pratt & Whitney engine line at

 Vought that Blanks submits in an effort to re-litigate issues regarding Vought’s decision

 to discharge him already decided adverse to Blanks in his separate suit against Vought.

 As noted in Section III above, Blanks is collaterally estopped from re-litigating these

 issues. The picture is also not authenticated under Fed.R.Evid., Rule 901 and nor is it

 relevant under Fed.R.Evid., Rule 402 to this case as it has no bearing on Blanks’

 grievance challenging his discharge or on Defendants’ processing of that grievance and

 decision not to submit it to arbitration. Thus, this picture does not affect any material fact

 issue, is inadmissible and should be stricken or ignored.

        Appendix 4 – this purports to be a doctor’s injury excuse note that Blanks submits

 in an effort to re-litigate issues regarding Vought’s decision to discharge him already

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 decided adverse to Blanks in his separate suit against Vought. 7 As noted in Section III

 above, Blanks is collaterally estopped from re-litigating these issues. The record is also

 inadmissible hearsay under Fed.R.Evid., Rule 802 as it is an out of court statement

 offered for the truth of what it says. The note is also not authenticated under Fed.R.Evid.,

 Rule 901 and nor is it relevant under Fed.R.Evid., Rule 402. Thus, this note does not

 affect any material fact issue, is inadmissible and should be stricken or disregarded by the

 Court.

          Appendix 5 – this purports to be another doctor’s injury excuse note that Blanks

 submits in an effort to re-litigate issues regarding Vought’s decision to discharge him

 already decided adverse to Blanks in his separate suit against Vought. As noted in

 Section III above, Blanks is collaterally estopped from re-litigating these issues. The

 record is also inadmissible hearsay under Fed.R.Evid., Rule 802 as it is an out of court

 statement offered for the truth of what it says. The note is also not authenticated under

 Fed.R.Evid., Rule 901 and nor is it relevant to this case under Fed.R.Evid., Rule 402.

 Thus, this note does not affect any material fact issue, is inadmissible and should be

 stricken or disregarded by the Court.

          Appendix 6 – this purports to be another doctor’s injury excuse note that Blanks

 submits in an effort to re-litigate issues regarding Vought’s decision to discharge him

 already decided adverse to Blanks in his separate suit against Vought. As noted in

 Section III above, Blanks is collaterally estopped from re-litigating these issues. The

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   This doctor’s note, as well as the notes set forth in his Appendix 5 and 6 (discussed below), was produced
 by Vought to Defendants in connection with Defendants’ investigation into Blanks’ grievance. Defendants
 agree that these documents are admissible for the limited purpose of showing that Vought produced them to
 Defendants as part of its demonstration to the union, during the grievance process, of its ability to defend
 its discharge of Blanks. However, Defendants object to Blanks offering this note, as he plainly does in his
 summary judgment motion, as evidence that he had a meritorious grievance because Vought discharged
 him without just cause in violation of the CBA. This latter issue is foreclosed by collateral estoppel. The
 same is true with respect to the doctor’s notes that are in Appendix 5 and 6 as discussed below.

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 record is also inadmissible hearsay under Fed.R.Evid., Rule 802 as it is an out of court

 statement offered for the truth of what it says. The note is also not authenticated under

 Fed.R.Evid., Rule 901 and nor is it relevant to this case under Fed.R.Evid., Rule 401.

 Thus, this note does not affect any material fact issue, is inadmissible and should be

 stricken or disregarded by the Court.

          Appendix 7 – this purports to be a Vought record Blanks submits in an effort to

 re-litigate issues regarding Vought’s decision to discharge him already decided adverse to

 Blanks in his separate suit against Vought. As noted in Section III above, Blanks is

 collaterally estopped from re-litigating these issues. The record is also inadmissible

 hearsay under Fed.R.Evid., Rule 802 as it is an out of court statement offered for the truth

 of what it says. The record is also not authenticated under Fed.R.Evid., Rule 901 and nor

 is it relevant to this case under Fed.R.Evid., Rule 402. Thus, this document does not

 affect any material fact issue, is inadmissible and should be stricken or disregarded by the

 Court.

          Appendix 16 – this appears to be two separate documents scanned together by

 Blanks so as to appear as a single “document.” The upper part is what Blanks contends is

 a Vought record relating to its decision to discharge him already decided adverse to

 Blanks in his separate suit against Vought. As noted in Section III above, Blanks is

 collaterally estopped from re-litigating issues regarding the propriety of his discharge.

 This upper part is also not authenticated under Fed.R.Evid., Rule 901 and nor is it

 relevant to this case under Fed.R.Evid., Rule 402. The lower part appears to be an out of

 court statement from an unknown declarant attributing additional out of court statements

 to other unknown declarants, all of which are offered for the truth of the statements. As



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 such, these statements are inadmissible hearsay under Fed.R.Evid., Rule 802. Thus, this

 “document” does not affect any material fact issue, is inadmissible and should be

 stricken.

        Appendix 17 – this purports to be another Vought record Blanks submits in an

 effort to re-litigate issues regarding Vought’s decision to discharge him already decided

 adverse to Blanks in his separate suit against Vought. As noted in Section III above,

 Blanks is collaterally estopped from re-litigating these issues. The record is also

 inadmissible hearsay under Fed.R.Evid., Rule 802 as it is an out of court statement

 offered for the truth of what it says. The record is also not authenticated under

 Fed.R.Evid., Rule 901 and nor is it relevant to this case under Fed.R.Evid., Rule 402.

 Thus, this document does not affect any material fact issue, is inadmissible and should be

 stricken or disregarded by the Court.

        Appendix 21 – this purports to be telephone records from the Sprint telephone

 company reflecting what Blanks contends reflect telephone calls with Defendants about

 his grievance. The records are inadmissible hearsay under Fed.R.Evid., Rule 802 as they

 are an out of court statement offered for the truth of what they say. The records are also

 not authenticated under Fed.R.Evid., Rule 901. Thus, this document is inadmissible and

 should be stricken or disregarded by the Court.

        Appendix 22 – this purports to be another Vought record Blanks submits in an

 effort to re-litigate issues regarding Vought’s decision to discharge him already decided

 adverse to Blanks in his separate suit against Vought. As noted in Section III above,

 Blanks is collaterally estopped from re-litigating these issues. The record is also

 inadmissible hearsay under Fed.R.Evid., Rule 802 as it contains various out of court



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 statements by unknown declarants offered for the truth of the statements. The record is

 also not authenticated under Fed.R.Evid., Rule 901 and nor is it relevant to this case

 under Fed.R.Evid., Rule 402. Thus, this document does not affect any material fact issue,

 is inadmissible and should be stricken or disregarded by the Court.

         WHEREFORE, Defendants respectfully request the Court to grant Defendants’

 Motion to Strike Plaintiff’s Summary Judgment Evidence.




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                                              Respectfully Submitted,


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                                              ROMEO MUNOZ
 DATED: June 21, 2011



                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of June, 2011 I electronically filed the
 forgoing document with the clerk of court for the U.S. District Court, Northern District of
 Texas, using the electronic case filing system of the court. The electronic case filing
 system sent a ANotice of Electronic Filing@ to the below listed pro se party by electronic
 means.

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                                              s/ Sanford R. Denison
                                              SANFORD R. DENISON




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